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 7

 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11    UNITED STATES OF AMERICA                                   Case No.: 2:16-CR-0199 GEB
12                      Plaintiff,                               STIPULATION REGARDING
                                                                 EXCLUDABLE TIME PERIODS UNDER
13             vs.                                               SPEEDY TRIAL ACT; [PROPOSED]
                                                                 FINDINGS AND ORDER
14    KIONI DOGAN, et al,
                                                                 Date: February 8, 2019
15                      Defendant.                               Time: 9:00 a.m.
                                                                 Judge: Hon. Garland E. Burrell
16
                                                            /
17
             IT IS HEREBY STIPULATED by and between the defendants, Kioni Dogan, Gloria
18
     Harris, and Lavonda Bailey, by and through their undersigned defense counsel, and the
19

20   United States of America, by and through its counsel, Christopher Hales, Assistant United
21   States Attorney, that the status conference currently set for February 8, 2019 should be
22
     continued until March 29, 2019, and to exclude time between February 8, 2019 and March
23
     29, 2019, under Local Code T4.
24

25           The parties agree and stipulate, and request that the Court find the following:
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                  1. The government has provided discovery associated with this case, which is
27

28                     voluminous - i.e. approximately 14,000 pages, plus media materials, to
                                                                 1
      Vanwinkle, Thomas/Stipulation Regarding Excludable Time Periods Under Speedy Trial Act; [Proposed] Findings and Order
       Case 2:16-cr-00199-JAM Document 75 Filed 02/08/19 Page 2 of 3


 1                    defense counsel. Both counsel for Dogan and Harris were substituted in for
 2
                      original counsel and have not been counsel of record the entire time since the
 3
                      filing of the indictment and thus have had more limited time to prepare.
 4

 5               2. Given the volume of discovery, defense counsel for defendants require
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                      additional time to review the discovery in this matter, to consult with their
 7
                      respective clients and to conduct any necessary investigation and research
 8

 9                    related to the charges, to evaluate possible settlement, to continue in

10                    settlement negotiations – which are ongoing, and to otherwise prepare for
11
                      trial.
12

13               3. Counsel for defendants believe that failure to grant the above-requested

14                    continuance would deny counsel the reasonable time necessary for effective
15
                      preparation, taking into account the exercise of due diligence.
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17               4. The government is unopposed to the requested continuance.

18
                 5. Based on the above-stated findings, the ends of justice served by continuing
19
                      the case as requested outweigh the interest of the public and the defendant in
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21                    a trial within the original date prescribed by the Speedy Trial Act.

22
                 6. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
23
                      3161, et seq., within which trial must commence, the time period of February
24

25                    8, 2019 to March 29, 2019, inclusive, is deemed excludable pursuant to 18

26                    U.S.C. section 3161(h)(7)(A), B(iv)[Local Code T4] because it results from
27
                      a continuance granted by the Court at counsel’s request on the basis of the
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                                                                  2
     Harris, Gloria /Stipulation Regarding Excludable Time Periods Under Speedy Trial Act; [Proposed] Findings and Order
       Case 2:16-cr-00199-JAM Document 75 Filed 02/08/19 Page 3 of 3


 1                    Court’s finding that the ends of justice served by taking such action outweigh
 2
                      the interest of the public and the defendant in a speedy trial.
 3

 4               7. Nothing in this stipulation and order shall preclude a finding that other

 5                    provisions of the Speedy Trial Act dictate that additional time periods are
 6
                      excludable from the period within which a trial must commence.
 7
             IT IS SO STIPULATED.                            Respectfully submitted,
 8

 9
     Dated: February 6, 2019                                 /s/ Steven B. Plesser
10                                                           STEVEN B. PLESSER
                                                             Attorney for Gloria Harris
11

12   Dated: February 6, 2019                                 /s/ Steven B. Plesser for:
                                                             For CHRISTOPHER HALES
13                                                           Assistant U.S. Attorney
14                                                           Attorney for the United States

15   Dated: February 6, 2019                                 /s/ Steven B. Plesser
                                                             For Hayes Gable III
16
                                                             Attorney for Kioni Dogan
17
     Dated: February 6, 2019                                 /s/ Steven B. Plesser
18                                                           For ROBERT WILSON
19                                                           Attorney for Lavonda Bailey

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21
                                           FINDINGS And ORDER
22

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             IT IS SO FOUND AND ORDERED.
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             Dated: February 7, 2019
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     Harris, Gloria /Stipulation Regarding Excludable Time Periods Under Speedy Trial Act; [Proposed] Findings and Order
